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               Exhibit B
      (Previously Filed as Exhibit 29 to the Decl. of
         Bryon Becker, Dkt. Nos. 582-9 & 598-4)
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